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        &lt;div&gt;&lt;header&gt;&lt;p id="Page" data-paragraph-id="35c0804c86"&gt; 1 &lt;/p&gt;&lt;center&gt;&lt;b&gt;&lt;/b&gt;&lt;p data-paragraph-id="92d794fa47"&gt;&lt;span data-sentence-id="0062390029" quote="false" data-paragraph-id="92d794fa47"&gt; Contrada, Inc., a Colorado corporation; 333 Trust; and Marilena P. Marzano, a / k /a Elena Marzano, Marilena Piras, and Elena Piras; Petitioners &lt;br /&gt; v.&lt;/span&gt; &lt;br /&gt; Thomas Wengh. Respondent &lt;/p&gt;&lt;p data-paragraph-id="fc2a7ce8b6"&gt;No. 23SC904&lt;/p&gt;&lt;p data-paragraph-id="b9dbf998f6"&gt;&lt;span data-sentence-id="b9dbf998f6" quote="false" data-paragraph-id="b9dbf998f6"&gt;Supreme Court of Colorado, En banc&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="4afc352e0c"&gt;July 22, 2024&lt;/p&gt;&lt;/center&gt;&lt;/header&gt;&lt;br /&gt;&lt;!--OPINION TEXT STARTS HERE--&gt;
 &lt;p id="AppealLine" data-paragraph-id="5dcceb0a61"&gt;&lt;span data-sentence-id="1147ad6751" quote="false" data-paragraph-id="5dcceb0a61"&gt; Court of Appeals Case No. 21CA1286 &lt;/span&gt;&lt;/p&gt;
 &lt;p id="MajorityOpinion" data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="5206077a6e"&gt;&lt;span data-sentence-id="70dfb4add5" quote="false" data-paragraph-id="5206077a6e"&gt; Petition for Writ of Certiorari DENIED.&lt;/span&gt; &lt;/p&gt;&lt;/div&gt;
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